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Paul C. Echo Hawk (ISB #5802)
ECHO HAWK LAW OFFICE
P.O. Box 4166
Pocatello, Idaho 83205
Telephone: (208) 705-9503
Facsimile: (208) 904-3878
paul@echohawklaw.com

Attorney for Advantage Plus Federal Credit Union

                           IN THE UNITED STATES BANKRUPTCY COURT

                                       FOR THE DISTRICT OF IDAHO


In the Matter of:                                            Case No. 18-40618-JMM
                                                             Chapter: 7
TODD RAWLINGS,
                                                             OBJECTION TO DEBTOR’S MOTION
           Debtor.                                           TO REDEEM PROPERTY (Dkt. 18)



           Advantage Plus Federal Credit Union (“Advantage Plus” or “Creditor”) objects to Todd

Rawlings’ (“Rawlings” or “Debtor”) Motion to Redeem Property filed on September 4, 2019

(Dkt. 18) on the following grounds: 1) the motion is untimely; 2) the asserted exemption is

inapplicable or the amount claimed is limited to $800.00; 3) there is no evidence of a priority

mechanic’s lien; and 4) the value of the collateral at issue is significantly higher than Debtor

asserts. This objection is supported by the Declaration of Brooke Kempf filed herewith and the

following points and authorities:

           1.   Rawlings Motion is Untimely.

           Rawlings seeks to redeem a 2001 Logic Boat, VIN LOPF59311001 (“Logic Boat”),

which is listed as collateral securing a loan to Rawlings from Advantage Plus.1 The Court

should deny Rawlings’ Motion to Redeem Property as untimely. 11 U.S.C. § 362(h) provides:


1
    Rawlings’ loan from Advantage Plus is also secured by a 16 foot boat trailer, ID #F5076RZ.
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           (h)(1) In a case in which the debtor is an individual, the stay provided by
           subsection (a) is terminated with respect to personal property of the estate or of
           the debtor securing in whole or in part a claim, or subject to an unexpired lease,
           and such personal property shall no longer be property of the estate if the debtor
           fails within the applicable time set by section 521(a)(2)--
               (A) to file timely any statement of intention required under section 521(a)(2)
               with respect to such personal property or to indicate in such statement that the
               debtor will either surrender such personal property or retain it and, if retaining
               such personal property, either redeem such personal property pursuant to
               section 722, enter into an agreement of the kind specified in section 524(c)
               applicable to the debt secured by such personal property, or assume such
               unexpired lease pursuant to section 365(p) if the trustee does not do so, as
               applicable; and
               (B) to take timely the action specified in such statement, as it may be amended
               before expiration of the period for taking action, unless such statement
               specifies the debtor's intention to reaffirm such debt on the original contract
               terms and the creditor refuses to agree to the reaffirmation on such terms.

11 U.S.C.A. § 362(h). Rawlings failed to file the required statement of intention within the 30

day time period established in section 521(a)(2).2 Rawlings’ Chapter 7 Petition was filed on June

28, 2019. The meeting of the creditors was held on July 24, 2019. Rawlings did not file a

statement of his intention to retain or surrender the Logic Boat and trailer within 30 days of filing

his Petition or on or before the meeting of the creditors as required by 11 U.S.C. § 521(a)(2)(A).

Even if Rawlings had filed the required statement of intention, he failed to either redeem,

2
    11 U.S.C. § 521(a)(2) provides:
           (a) The debtor shall –
                (2) if an individual debtor's schedule of assets and liabilities includes debts which are secured
                by property of the estate--
                     (A) within thirty days after the date of the filing of a petition under chapter 7 of this title
                     or on or before the date of the meeting of creditors, whichever is earlier, or within such
                     additional time as the court, for cause, within such period fixes, file with the clerk a
                     statement of his intention with respect to the retention or surrender of such property and,
                     if applicable, specifying that such property is claimed as exempt, that the debtor intends
                     to redeem such property, or that the debtor intends to reaffirm debts secured by such
                     property; and
                     (B) within 30 days after the first date set for the meeting of creditors under section
                     341(a), or within such additional time as the court, for cause, within such 30-day period
                     fixes, perform his intention with respect to such property, as specified by subparagraph
                     (A) of this paragraph;

           except that nothing in subparagraphs (A) and (B) of this paragraph shall alter the debtor's or the
           trustee's rights with regard to such property under this title, except as provided in section 362(h).
11 U.S.C. § 521(a)(2).



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reaffirm, or surrender the Logic Boat within 30 days after the meeting of the creditors. Rawlings’

Motion to Redeem Property is therefore untimely and must be denied.

           Rawlings is wrongfully retaining possession of the Logic Boat in spite of Advantage

Plus’s demand for its surrender. Section 521(a)(6) also provides that an individual debtor shall

not retain possession of personal property as to which a creditor has a security interest unless, not

later than 45 days after the first meeting of creditors either: (1) enters a reaffirmation agreement;

or 2) redeems the property.3

           In this case, Rawlings has retained possession of the Logic Boat while refusing to adhere

to the requirements of the Bankruptcy Code, and he has refused to enter a reasonable

reaffirmation agreement with Advantage Plus. The Debtor cannot continuously retain collateral

and demand unacceptable reaffirmation terms. An excerpt from In re Steinhaus, 349 B.R. 694

(Bankr. D. Idaho 2006) is instructive:

           2. Elimination of “ride-through” by § 521(a)(6)
           BAPCPA's new § 521(a)(6) states that a debtor shall in a case under chapter 7 of
           this title in which the debtor is an individual, not retain possession of personal
           property as to which a creditor has an allowed claim for the purchase price
           secured in whole or in part by an interest in such personal property unless
           the debtor, not later than 45 days after the first meeting of creditors under section
           341(a), either—
               (A) enters into an agreement with the creditor pursuant to section 524(c) with
               respect to the claim secured by such property; or
               (B) redeems such property from the security interest pursuant to section 722.


3
    11 U.S.C. § 521(a)(6) provides:
          (a) The debtor shall--
               (6) in a case under chapter 7 of this title in which the debtor is an individual, not retain
               possession of personal property as to which a creditor has an allowed claim for the purchase
               price secured in whole or in part by an interest in such personal property unless the debtor, not
               later than 45 days after the first meeting of creditors under section 341(a), either--
                    (A) enters into an agreement with the creditor pursuant to section 524(c) with respect to
                    the claim secured by such property; or
                    (B) redeems such property from the security interest pursuant to section 722.
11 U.S.C.A. § 521(a)(6).



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        If the debtor fails to so act within the 45–day period referred to in paragraph
        (6), the stay under section 362(a) is terminated with respect to the personal
        property of the estate or of the debtor which is affected, such property shall
        no longer be property of the estate, and the creditor may take whatever
        action as to such property as is permitted by applicable nonbankruptcy
        law....
        11 U.S.C. § 521(a)(6).
        Section 521(a)(6) gives an individual chapter 7 debtor two options, and only
        two options, for retaining personal property in which a creditor holds a
        purchase money security interest: redemption or reaffirmation. It does not
        allow a debtor to choose a “retain-and-pay” or a “ride-
        through.” See Norton, 347 B.R. 291, 298–99 (“[B]ased upon the statutory
        language of § 521(a)(6), BAPCPA extinguished the ‘ride-through’
        option[.]”); Donald, 343 B.R. at 534 (“Unlike the BAPCPA amendments to §
        521(a)(2) and § 362(h), which do not by themselves eliminate the ‘ride-through’
        option, the amendment to § 521(a)(6) made by BAPCPA does.”).
In re Steinhaus, 349 B.R. 694, 702–03 (Bankr. D. Idaho 2006) (emphasis added) (footnotes

ommitted). Rawlings filed his Motion to Redeem Property (Dkt. 18) on September 4, 2019. He

has failed to redeem the Logic Boat or enter a reaffirmation agreement with Advantage Plus.

Accordingly, Rawlings’ Motion to Redeem Property should be denied as untimely. Advantage

Plus requests an order confirming that the stay is terminated with respect to the Logic Boat and

trailer, and that the Logic Boat and trailer are no longer property of the bankruptcy estate in this

case.

        2. Even if Rawlings’ Motion were timely, the claimed exemption (I.C. § 11-605(10))
           is limited to $800, and the exemption does not apply where Debtor has no equity
           in the collateral.

        Rawlings’ Affidavit (Dkt. 19) asserts that the Logic Boat is worth approximately

$2,066.99. (Rawlings Aff. ¶4). Rawlings acknowledges that the amount owing to Advantage

Plus on the loan secured by the boat is at least $3,842.00. (Dkt. 18 at ¶6). Because the Debtor

here has no equity in the Logic boat (i.e. the amount owed exceeds the value of the collateral), no

exemption should apply. The loan in this case was made for the purchase price of the Logic

Boat and trailer. Advantage Plus can thus levy against the boat and trailer. See I.C. § 11-


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607(1)(b). In any case, the exemption claimed under I.C. § 11-605(10) is limited to the amount

of $800.00. I.C. §11-605(10).

       3. Contrary to Rawlings’ assertion, there is no evidence of a mechanic’s lien that
          has priority over the security interest of Advantage Plus.

       Rawlings asserts a debt of $2,096.50 is owing to Don’s Auto and Marine, Inc., which

Rawlings asserts is “secured by a statutory, possessory mechanic’s lien” and “senior to the credit

union lien.” (Dkt. 18 at ¶2 and ¶6). Don’s Auto and Marine, Inc. is located in Smithfield, Cache

County, Utah. There is no evidence of a valid priority mechanic’s or repairman’s lien filed by

Don’s Auto and Marine, Inc. in Utah or Idaho.

       The Debtor’s Motion to Redeem Property and supporting Affidavit are insufficient to

show that a valid priority “mechanic’s lien” was properly filed in Utah. Exhibit B to Rawlings

Affidavit is unsigned and fails to contain the notice requirements for lien filings under Utah law.

See Utah Code Ann. § 38-12-102. A “mechanic’s lien” or construction lien in Utah requires work

on real property that is either preconstruction service or construction work. See Utah Code Ann.

§ 38-1a-301 (“[A] person who provides preconstruction service or construction work on or for a

project property has a lien on the project property for the reasonable value of the preconstruction

service or construction work.”); Utah Code Ann. § 38-1a-102 (defining “project property” as

“real property on or for which preconstruction service or construction work is or will be

provided.”). A “repairman’s lien” is defined in Utah Code Ann. § 38-2-3:

       Every person who shall make, alter or repair, or bestow labor upon, any article of
       personal property at the request of the owner or other person entitled to
       possession thereof shall have a lien upon such article for the reasonable value of
       the labor performed and materials furnished and used in making such article or in
       altering or repairing the same, and may retain possession thereof until the amount
       so due is paid; provided such lien and right to possession shall be subject and
       subordinate to the rights and interests of any secured parties in such personal
       property unless such secured party has requested such person to make, alter or



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       repair or bestow labor upon such property.

Utah Code Ann. § 38-2-3 (emphasis added). A repairman’s lien in Utah is subordinate to a

secured party unless the secured party requests repairs to the subject personal property. Id.; see

also Gunnison Valley Bank v. Madsen, 685 P.2d 543, 544 (Utah 1984). Advantage Plus did not

request repairs to the Logic Boat, and any repairman’s lien would thus be subordinate to the

security interest of Advantage Plus.

       In addition, to establish a valid repairman’s lien in Utah, a party must follow the notice

requirements set forth in Utah Code Ann. § 38-2-4:

       (1) Any party holding a lien upon personal property as provided in this chapter
       may dispose of the property in the manner provided in Subsection (2).
       (2)(a) The lienor shall give notice to the owner of the property, to the customer as
       indicated on the work order, and to all other persons claiming an interest in or
       lien on it, as disclosed by the records of the Motor Vehicle Division, lieutenant
       governor's office, or of corresponding agencies of any other state in which the
       property appears registered or an interest in or lien on it is evidenced if known by
       the lienor.
       (b) The notice shall be sent by certified mail at least 30 days before the proposed
       or scheduled date of any sale and shall contain:
           (i) a description of the property and its location;
           (ii) the name and address of the owner of the property, the customer as
           indicated on the work order, and any person claiming an interest in or lien on
           the property;
           (iii) the name, address, and telephone number of the lienor;
           (iv) notice that the lienor claims a lien on the property for labor and services
           performed and interest and storage fees charged, if any, and the cash sum
           which, if paid to the lienor, would be sufficient to redeem the property from
           the lien claimed by the lienor;
           (v) notice that the lien claimed by the lienor is subject to enforcement under
           this section and that the property may be sold to satisfy the lien;
           (vi) the date, time, and location of any proposed or scheduled sale of the
           property and whether the sale is private or public, except that no property may
           be sold earlier than 45 days after completion of the repair work; and
           (vii) notice that the owner of the property has a right to recover possession of
           the property without instituting judicial proceedings by posting bond.




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Utah Code Ann. § 38-2-4 (emphasis added). There is no evidence that Don’s Marine complied

with the notice requirements set forth in §38-2-4. Advantage Plus did not receive any such

notice. Therefore, there is no valid repairman’s lien as asserted by Rawlings.

       There is also no evidence of an Idaho mechanic’s or materialman’s lien by Don’s Marine

that has priority over the security interest of Advantage Plus. Idaho Code § 45-806 provides:

       Any person, firm or corporation, who makes, alters or repairs any article of
       personal property, at the request of the owner or person in legal possession
       thereof, has a lien, which said lien shall be superior and prior to any security
       interest in the same for his reasonable charges for work done and materials
       furnished, and may retain possession of the same until the charges are paid. . . .
       Provided that the said person, firm or corporation who is about to make, alter or
       repair the said property, in order to derive the benefits of this section, must,
       before commencing said making, altering or repairing, give notice of the intention
       to so make, alter or repair said property, by registered mail, to any holder of a
       security interest which is of record in the county where said property is located, or
       in the office of the secretary of state, and, if a motor vehicle, to any holder of a
       security interest which may appear on the certificate of title of said vehicle, at
       least three (3) days before commencing said making, altering or repairing and if
       notice in writing within said three (3) days be not given by such holder of a
       security interest notifying said firm or corporation not to perform said services
       then the said making, altering or repairing may proceed and the prior lien
       provided for herein attaches to said property.

Idaho Code Ann. § 45-806. As set forth in the Declaration of Brooke Kempf, Advantage Plus

did not receive notice from Don’s Auto and Marine of an intention to complete repairs and

Advantage Plus did not request or consent to any repairs. (Kempf Decl. ¶7). And, the security

interest of Advantage Plus is clearly shown on the Logic Boat’s certificate of title. (Kempf Decl.

at Ex. B). No mechanic’s lien under Idaho law can therefore exist. See American Mach. Co. v.

Fitzpatrick, 92 Idaho 416, 443 P.2d 1013 (1968) (holding that upon repairing motor vehicle at

request of its lawful possessor, lien for reasonable charges for repair services automatically

attaches to vehicle in favor of repairer; however, such lien is subordinate to security interest of

one holding conditional sale contract or title retaining note covering vehicle if such interest is




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properly noted on vehicle’s certificate of title, unless repairer has properly notified security

holder of intended repairs).

       4. The value of the Logic Boat is significantly higher than that asserted by
          Rawlings.

       Advantage Plus believes the value listed by Debtor for the 2001 Logic Boat to be

significantly less than the replacement value and actual fair market value of the collateral. This

assertion is supported by the Declaration of Brooke Kempf and attached documentation, which

shows a NADA retail value of $9,495.00 for the Logic Boat. (Kempf Decl. Ex. C).

       For the foregoing reasons Advantage Plus objects to the Debtor’s Motion to Redeem

Property and requests an order denying the motion and confirming termination of the stay

relative to the Logic Boat and trailer effective 45 days after the meeting of the creditors

(September 7, 2019).

       DATED: September 17, 2019.


                                                   /s/ Paul Echo Hawk
                                                   Paul C. Echo Hawk




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                                CERTIFICATE OF SERVICE
       I hereby certify that on this 17th day of September 2019, I caused to be served a true and
correct copy of the foregoing by the method indicated below, and addressed to the following:
Ryan E. Farnsworth                                       Federal ECF
ryan@averylaw.net
R. Sam Hopkins                                           Federal ECF
shopkins@epiqsystems.com
US Trustee                                               Federal ECF
ustp.region18.bs.ecf@usdoj.gov


                                                  /s/ Paul Echo Hawk
                                                 Paul C. Echo Hawk




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